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FORM ordc9037 (Rev. 06/14)
                                   UNITED STATES BANKRUPTCY COURT
                                          Northern District of Florida
                                            Tallahassee Division

In Re: Daniel Marian Gay                                            Bankruptcy Case No.: 19−40056−KKS
       SSN/ITIN: xxx−xx−3422
        Debtor
                                                                    Chapter: 7
                                                                    Judge: Karen K. Specie


                                         ORDER RESTRICTING ACCESS

    One or more documents have been filed in this case which contain a social security number or taxpayer
identification number, date of birth, the name of minor children, financial account number, or other personally
identifiable information that is in violation of Fed. R. Bankr. P. 9037. Specifically, those documents are:

          12 − All remaining schedules and statements filed by Leighanne Boone on behalf of Daniel Marian Gay
          [Re: 1 Voluntary Petition (Chapter 7), 4 Notice of Deficiency − Initial]. (Boone, Leighanne)
          Form 121 Statement of Social Security contains full number.
    Pursuant to Fed. R. Bankr. P. 9037(d), the Court has restricted access to the aforementioned document(s). Access
to the document(s) will be unrestricted after fourteen (14) days from the date of this order. Your failure to file a
replacement document that redacts (deletes) the personally identifiable information shall constitute a waiver of the
protection of such information pursuant to Fed. R. Bankr. P. 9037(g). It is

   ORDERED:

      1. You have fourteen (14) days from the date of this order to file a replacement document containing the proper
         redactions in the record of this case.
      2. If you do not refile the document(s) with the personally identifiable information redacted (removed), you will
         be deemed to have waived the protection of the information pursuant to Fed. R. Bankr. P. 9037(g), and the
         restricted access will be removed from the document(s).

   DONE AND ORDERED at Tallahassee, Florida, March 4, 2019.

                                                            /s/ Karen K. Specie
                                                            Karen K. Specie
                                                            U.S. Bankruptcy Judge
Service by the Court to:
    All parties in interest
